UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

    In re:
                                                                         Case No.: 20-10322
    The Diocese of Buffalo, N.Y.,
                                                                         Chapter 11

                                                   Debtor,


      CERTIFICATE OF NO OBJECTION WITH RESPECT TO THE MONTHLY FEE
          STATEMENT OF PHOENIX MANAGEMENT SERVICES, LLC FOR
       COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
       EXPENSES AS FINANCIAL ADVISOR TO THE DIOCESE OF BUFFALO, N.Y.
             FOR THE PERIOD MARCH 1, 2021 THROUGH APRIL 4, 2021

             Pursuant to this Court’s Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals and Members of Official Committees [Docket No.

362] (the “Interim Compensation Order”)1, the undersigned hereby certifies that on April 9, 2021,

Phoenix Management Services, LLC (“Phoenix”) filed its Monthly Fee Statement of Phoenix

Management Services, LLC for Compensation for Services Rendered and Reimbursement of

Expenses as Financial Advisor to The Diocese of Buffalo, N.Y. for the Period March 1, 2021

through April 4, 2021 [Docket No. 989] (the “Monthly Fee Statement”) and no objections to the

Monthly Fee Statement have been filed.

             Accordingly, pursuant to the Interim Compensation Order, The Diocese of Buffalo, N.Y.

is authorized to pay on an interim basis eighty percent (80%) of Phoenix’s fees and one hundred

percent (100%) of Phoenix’s expenses, as reflected in the Monthly Fee Statement.




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Interim Compensation
Order.



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Dated: April 26, 2021
                                        PHOENIX MANAGEMENT SERVICES, LLC


                                  By:       /s/ Richard J. Szekelyi
                                        Richard J. Szekelyi
                                        1382 W. 9th Street, Suite 310
                                        Cleveland, Ohio 44113

                                        Financial Advisor for
                                        The Diocese of Buffalo, N.Y.




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